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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF CONNECTICUT

UNITED STATES                     :

V.                                :       Case No. 3:12-CR-105 (RNC)

NIGEL JONES                       :

                          RULING AND ORDER

     Defendant Nigel Jones has been detained pending trial

pursuant to an order issued by Magistrate Judge Martinez (ECF

No. 241).     After a hearing, Judge Martinez found by clear and

convincing evidence that the defendant's release would pose a

danger to the community.       A motion has been filed seeking

reconsideration of the detention order (ECF No. 301), which

the court treats as a motion for revocation of the order

pursuant to 18 U.S.C. § 3145(b).          In support of the motion,

the defendant offers no new evidence and relies on the record

of the detention hearing conducted by Judge Martinez.               He

argues that he should be released in light of his close

community and family ties, prior gainful employment and no

unsatisfied criminal liabilities.          The government continues to

oppose the defendant's release pending trial.            After de novo

review, the Court concludes that continued detention is

necessary and appropriate for substantially the reasons stated




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by Judge Martinez.1

    The defendant has been indicted along with numerous others

for conspiracy to distribute and to possess with intent to

distribute narcotics in violation of 21 U.S.C. § 841 and 21

U.S.C. § 846.   Because this offense carries a maximum prison

term of ten years or more, there is a rebuttable presumption

that "no condition or combination of conditions will

reasonably assure [the defendant's] appearance."             18 U.S.C. §

3142(e).   See United States v. English. 629 F.3d 311, 319 (2d

Cir. 2011) (“[A]n indictment returned by a duly constituted

grand jury conclusively establishes the existence of probable

cause for the purpose of triggering the rebuttable presumption

set forth in § 3142(e).”) (quoting United States v. Contreras,

776 F.2d 51, 55 (2d Cir. 1985)).       The defendant concedes that

he is subject to the § 3142(e) presumption but contends that

he has rebutted the presumption as there are conditions of

release that will reasonably ensure his appearance and the

safety of the community.

    The relevant factors that must be considered are: (1) the

nature and circumstances of the offense charged; (2) the



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      Under 18 U.S.C. §3145(b), de novo review is required.
See United States v. Leon, 766 F.2d 77, 80 (2d Cir. 1985). A
second evidentiary hearing need not be held, however, because
there no new evidence has been presented. See United States
v. Figueroa, 1999 WL 958629, at *1 (D. Conn. Oct. 15, 1999).

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weight of the evidence; (3) the history and characteristics of

the defendant;2 and (4) the nature and seriousness of the

danger the defendant's release may pose to the community.                   18

U.S.C. § 3142(g).    All four factors weigh in favor of

detention.

    With regard to the first and second factors, the defendant

is charged with a narcotics offense that gives rise to the

rebuttable presumption under § 3142(e).         At the detention

hearing conducted by Judge Martinez, the government proffered

evidence of wiretap intercepts of conversations and text

messages between the defendant and the lead defendant in the

case, reflecting the defendant's involvement in narcotics

trafficking.    The government proffered four recorded

statements by the defendant relating to the purchase and sale

of crack cocaine and cooking powder into crack.              Based on the

government's proffer, Judge Martinez observed that the case

against the defendant is strong.       I agree.

    With regard to the third factor, the defendant does have

family and community ties and a history of some gainful

employment.    However, he also has a significant criminal


    2
       This factor requires the court to consider the
defendant's "past conduct, history relating to drug or alcohol
abuse, criminal history, and record concerning appearance at
court proceedings; and whether, at the time of the current
offense or arrest, [he] was on probation, on parole, or on
other release pending trial." 18 U.S.C. § 3142(g).

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record and a history of repeatedly committing crimes while on

release.3    The defendant's history of committing crimes while

on release undercuts his claim that he has rebutted the

statutory presumption.       The conditions he relies on as

sufficient to protect the community have not been adequate to

serve that purpose in the past.

     With regard to the fourth factor, the Court finds that the

defendant's release would pose a danger to the community in

the form of new criminal conduct relating to narcotics.                This

finding is supported by the defendant's history of committing

narcotics-related offenses while on bond or on parole or

probation.

     Accordingly, the Court hereby finds (1) that the defendant

has not rebutted the statutory presumption and (2) that the


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      On December 9, 1998, the defendant was arrested for
reckless endangerment in the first degree. He was released on
bond. On December 19, 1998, he was arrested for carrying a
pistol without a permit. He was again released on bond. On
January 7, 1999, he was arrested for possession of narcotics.
Again he was released on bond. On November 12, 1999, he was
arrested for reckless endangerment in the first degree. The
foregoing arrests resulted in convictions and a lengthy
sentence of imprisonment. After serving that sentence, the
defendant was discharged to parole in November 2007. He was
soon arrested for possession of marijuana and released on
bond. In March and July 2008, he was arrested for possession
of marijuana. These three arrests resulted in a conviction on
August 7, 2008, for possession with intent to distribute, for
which the defendant received a one-year prison sentence. Not
long after completing that sentence, the defendant was
intercepted on the wiretap, leading to the present indictment.
At the time of his arrest, he was on state probation.

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government has shown by clear and convincing evidence that the

defendant's release would pose a danger to the community.                  The

defendant's motion (ECF No. 301] is therefore denied.

    So ordered this 27th day of December 2012.



                                               /s/ RNC
                                            Robert N. Chatigny
                                       United States District Judge




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